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Andrew G. Deiss (USB 7184)
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Attorneys for Plaintiff


                          IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH



 XAT.COM LIMITED,                                       NOTICE OF SUBSTITUTION
                                                             OF COUNSEL
                           Plaintiff,
 v.

 HOSTING SERVICES, INC. A/K/A/                              Case No. 1:16-cv-00092
 100TB.COM,
                                                        Magistrate Judge Paul M. Warner
                           Defendant.



       Xat.com Limited, by and through counsel, and pursuant to DUCivR 83-1.4(d), hereby

files this Notice of Substitution of Counsel. Andrew G. Deiss, Wesley D. Felix, and Brenda

Weinberg of Deiss Law PC, are to be substituted in the place of David L. Mortensen and Jordan

Bledsoe of Stoel Rives. The attorneys entering the case are aware of, and will comply with, all

pending deadlines in this matter.

       The Clerk of the Court is requested to terminate Mr. Mortensen and Mr. Bledsoe from the

case and add Mr. Deiss, Mr. Felix, and Ms. Weinberg as counsel of record.
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RESPECTFULLY SUBMITTED this 19th day of February, 2019.


                        DEISS LAW


                        /s/ Andrew G. Deiss
                        Andrew G. Deiss
                        Wesley D. Felix
                        Brenda Weinberg
                        Attorneys for Plaintiff


                        STOEL RIVES


                        /s/ David L. Mortensen (signed with permission)
                        David L. Mortensen
                        Jordan Bledsoe
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                               CERTIFICATE OF SERVICE

      I hereby certify that on the 19th day of February, 2019, I caused to be served a copy of the

forgoing NOTICE OF SUBSTITUTION OF COUNSEL upon all counsel of record via the

Court’s ECF system.




                                                    DEISS LAW

                                                    /s/ Zach Abend
